                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA


 WILLIAM ELIJAH RIDDLE, A                   )
 MINOR, BY AND THROUGH HIS                  )
 GUARDIAN AD LITEM, HEATHER                 )
 MICHELLE RIDDLE,                           )
                                            )
                       Plaintiff,           )
                                            )
 v.                                         )
                                            )
 NEIL ROGERS,                               )
                                            )
                       Defendant.           )
                                            )


                     NOTICE OF REMOVAL TO FEDERAL COURT

       NOW COMES the Defendant, Neil Rogers, by and through counsel, and pursuant to 28

U.S.C. § 1441 et. seq., hereby removes the above captioned suit from the General Court of Justice,

Superior Court Division, County of Haywood, to the United States District Court, Western District

of North Carolina. In support thereof, Defendant shows the Court the following:

       1.      This action was commenced when the Plaintiff filed his complaint on April 10,

2024, and the Haywood County Deputy Clerk of Court executed a summons pursuant to Rule 3 of

the North Carolina Rules of Civil Procedure on April 10, 2024, with the caption number 24 CVS

384. This action is now pending in the Superior Court of Haywood County.

       2.      Defendant Neil Rogers was served the Summons and Complaint via a Haywood

County Sheriff's Deputy on April 22, 2024. Thus, this Notice of Removal is timely pursuant to 28

U.S.C. §1446(b).




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       3.        The allegations contained within the Plaintiff's Complaint took place in Haywood

County, North Carolina and therefore venue lies in the United States District Court for the Western

District of North Carolina.

       4.        A copy of the Complaint and Summons is attached as Exhibit 1.

       5.        The Defendant will provide notice of this removal to the Superior Court Division

of Haywood County, a copy of which is attached as Exhibit 2.

       6.        This action is a civil action which arises under federal law which this Court has

original jurisdiction under the provisions of 28 U.S.C. § 1331, and it is one which may be removed

to this Court by Defendant pursuant to 28 U.S.C. §§ 1441(a) under the procedure described in 28

U.S.C. § 1446.

       7.        Haywood County, where suit was originally filed, is in the United States District

Court for the Western District of North Carolina, and thus, this Court is the appropriate removal

Court pursuant to 28 U.S.C. §§ 113(c) and 1441(a).

       8.        The date on or before which Defendant Neil Rogers is required by the Rules of

Civil Procedure of the State of North Carolina to answer or otherwise plead to Plaintiff's Complaint

has not yet passed.

       WHEREFORE, on the basis of the foregoing, Defendant Neil Rogers respectfully submits

the removal of this action from the General Court of Justice, Superior Court Division, Haywood

County to this Court is proper.

       THIS the 22nd day of May 2024.

                                                     CAMPBELL SHATLEY, PLLC

                                                     s/Ashley F. Leonard
                                                     Ashley F. Leonard
                                                     NC State Bar No. 56205
                                                     674 Merrimon Ave., Suite 210




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                                  CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this date served this Notice of Removal to Federal
Court in the above-entitled action upon all parties to this cause via electronic service to all counsel
who have consented to same via the Court's CM/ECF system:

         Mark R. Melrose
         Adam R. Melrose
         Melrose Law, PLLC
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         Waynesville, NC 28786
         melrose@mountainverdict.com
         adam@mountainverdict.com
         Attorneys for Plaintiff


       THIS the 22nd day of May 2024.


                                                       s/Ashley F. Leonard
                                                       Ashley F. Leonard




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